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                                           15   PMAC LENDING SERVICES, INC.
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                                                                        UNITED STATES DISTRICT COURT
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                                                                   CENTRAL DISTRICT OF CALIFORNIA
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                                                LEHMAN BROTHERS HOLDINGS,                     CASE NO. CV15-04867 - JAK
                                           20   INC.                                          (PJWx)
                                                                                              Honorable John A. Kronstadt
                                           21              Plaintiff,                         Honorable Patrick J. Walsh
                                           22        v.
                                                                                              NOTICE OF SUPPLEMENTAL
                                           23   PMC BANCORP, f/k/a                            AUTHORITY IN SUPPORT OF
                                                PROFESSIONAL MORTGAGE
                                                CORP. and PMAC LENDING                        MOTION TO DISMISS
                                           24
                                                SERVICES, INC,                                COMPLAINT BY PMAC
                                           25                                                 LENDING SERVICES, INC.
                                                           Defendants.
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                                                                  PMAC LENDING SERVICES, INC.’s MOTION TO DISMISS
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                                            1         Defendant PMAC Lending Services, Inc. (“PMAC”), through its counsel,
                                            2   respectfully submits the Supplemental Authority attached hereto as Exhibit A in
                                            3   support of its motion to dismiss, filed October 14, 2015 [Dkt. 37] which the parties
                                            4   argued before this Court on January 25, 2016.
                                            5         In the parties’ briefs and at oral argument, they informed this court that
                                            6   Plaintiff had filed several lawsuits in Colorado nearly identical to this one; that the
                                            7   Colorado court had determined the lawsuits to be untimely; that Plaintiff appealed
                                            8   those lawsuits; and that a ruling on the appeal was expected any day. Today, the
                                            9   United States Court of Appeals for the Tenth Circuit (“Tenth Circuit”) entered its
                                           10   ruling. A copy is attached hereto as Exhibit A.
                                           11         In its ruling, the Tenth Circuit affirmed the District Court’s rulings that
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                                           12   Plaintiff’s claims are barred by the statute of limitations. The Tenth Circuit
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                                           13   concluded that Plaintiff’s claims accrued when the Plaintiff’s affiliate, Lehman
                          Suite 400




                                           14   Brothers’ Bank purchased loans from defendant mortgage originators and not from
                                           15   the date Plaintiff made payments to Fannie Mae and Freddie Mac. (Exhibit A at p.
                                           16   4). In rejecting Plaintiff’s argument that its claim for indemnification accrued from
                                           17   the date it made payments to third parties, the Tenth Circuit concluded that
                                           18   Plaintiff’s claims were breach of contract claims that accrued from the date of the
                                           19   alleged breach applying the case Peoples’ Democratic Republic of Yemen v.
                                           20   Goodpasture, Inc., 782 F.2d 346 (2d Cir. 1986):
                                           21
                                                            In applying Yemen, we would regard Lehman Holdings’ claims
                                           22         as causes of action for breach of contract even if Lehman Holdings
                                           23         had pleaded them as claims for indemnity. “An action ‘does not
                                                      become an action for indemnity merely because the pleader has so
                                           24         denominated it.’” Id. at 350 (quoting Bunker v. Bunker, 437 N.Y.S.2d
                                           25         326, 328, 80 A.D.2d 817, 817 (N.Y. App. Div. 1981)).

                                           26               Like Yemen, Lehman Holdings had to pay third parties (Freddie
                                           27         Mac and Fannie Mae). But again like Yemen, Lehman Holdings had to
                                                      pay these third parties only because Universal American breached its
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                                                                    PMAC LENDING SERVICES, INC.’s MOTION TO DISMISS
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                                            1         contract with Lehman Holdings. Just as Goodpasture’s contract
                                                      created a duty to Yemen rather than the shipowner, Universal
                                            2         American’s contract created a duty to Lehman Holdings rather than
                                            3         Freddie Mac or Fannie Mae. Thus, Yemen would require us to base
                                                      accrual of the cause of action on the date of Universal American’s
                                            4         breach of contract rather than the date of Lehman Holdings’ payment
                                            5         to a third party.
                                                                                        ***
                                            6                As a result, we conclude that the causes of action accrued when
                                            7         Universal American and Standard Pacific sold the defective loans
                                                      with the representations and warranties. These sales had closed in
                                            8         2006 and 2007, more than three years before Aurora and Lehman
                                            9         Holdings brought suit in 2011 and 2012. Thus, all of the claims are
                                                      presumptively time-barred under Delaware’s three-year period of
                                           10         limitations.
                                           11   (Exhibit A at p. 33-34).
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                                           12         PMAC hereby submits this case as supplemental authority in support of its
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                      Irvine, CA 92612




                                           13   arguments that Plaintiff’s claims here are barred by the statute of limitations and
                          Suite 400




                                           14   the doctrine of collateral estoppel.
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                                                                    PMAC LENDING SERVICES, INC.’s MOTION TO DISMISS
                                   Case 2:15-cv-04867-JAK-PJW Document 59 Filed 01/27/16 Page 4 of 6 Page ID #:578




                                            1   Dated: January 27, 2016              GORDON & REES LLP
                                            2
                                            3                                        By:     s/Tamara A. Seelman
                                                                                             Tamara A. Seelman
                                            4                                                Attorneys for Non-Party
                                                                                             PMAC LENDING SERVICES,
                                            5                                                INC.
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                                                   PMAC LENDING SERVICES, INC.’s NOTICE OF SUPPLEMENTAL AUTHORITY IN SUPPORT OF
                                                                                  MOTION TO DISMISS
                                   Case 2:15-cv-04867-JAK-PJW Document 59 Filed 01/27/16 Page 5 of 6 Page ID #:579




                                            1                            CERTIFICATE OF SERVICE
                                            2         Pursuant to FRCP 5(b), I the undersigned, certify and declare that I am over
                                            3   the age of 18 years, and am an employee of Gordon & Rees LLP, 2211 Michelson
                                            4   Drive, Suite 400, Irvine, California 92612.
                                            5         On January 27, 2016 and pursuant to FRCP 5(b), I served a true and correct
                                            6   of the foregoing NOTICE OF SUPPLEMENTAL AUTHORITY IN SUPPORT
                                            7   OF MOTION TO DISMISS BY PMAC LENDING SERVICES, INC. on the
                                            8   parties below by E-Service via the Court’s CM/ECF filing system addressed as
                                            9   follows to:
                                           10       Christopher P. Carrington                   Attorney for Plaintiff
                                                    RICHARDS CARRINGTON                         Lehman Brothers Holdings, Inc.
                                           11
                                                    1755 Blake Street, Suite 240
Gordon & Rees LLP




                                           12       Denver, Colorado 80202
                    2211 Michelson Drive

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                                                    chris@richardscarrington.com
                                           13
                          Suite 400




                                           14       Stephen D. Weisskopf, Esq.                  Attorney for Plaintiff
                                           15       Weisskopf Law                               Lehman Brothers Holdings, Inc.
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                                           16       Los Angeles, CA 90067
                                           17       sweisskopf@weisskopflaw.com
                                           18       Amjad M. Khan                               Attorney for Defendant
                                           19       Ethan J. Brown (SBN: 218814)                PMAC Lending Services, Inc.
                                                    Brown, Neri & Smith LLP
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                                           21       Los Angeles, CA 90025
                                                    amjad@bnslawgroup.com
                                           22       ethan@bnslawgroup.com
                                           23
                                           24
                                                      I declare that I am employed in the office of a member of the California
                                           25
                                                State Bar who is permitted to practice before this Court, at whose direction the
                                           26
                                                service stated above was made, and declare under penalty of perjury under the laws
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                                                   PMAC LENDING SERVICES, INC.’s NOTICE OF SUPPLEMENTAL AUTHORITY IN SUPPORT OF
                                                                                  MOTION TO DISMISS
                                   Case 2:15-cv-04867-JAK-PJW Document 59 Filed 01/27/16 Page 6 of 6 Page ID #:580




                                            1   of the United States of America that the foregoing is true and correct.
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                                                      Executed on January 27, 2016 at Denver, Colorado.
                                            3
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                                                                                       s/Tamara A. Seelman
                                            6                                          Tamara A. Seelman
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                                                                                  MOTION TO DISMISS
